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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *               *
  DEBRA JONES, et al.,                        *
                                              *
                Plaintiffs,                   *
                                              *
  v.
                                              *           No. 13-227L
                                              *           Filed: May 10, 2018
  UNITED STATES,                              *
                                              *
            Defendant.                        *
  * * * * * * * * * * * * * * *               *

                                        ORDER

        The court is in receipt of the parties’ May 7, 2018 joint status report and proposed
schedule. After the April 12, 2018 hearing, the court instructed the parties to propose a
schedule for spoliation, including possible expert discovery. The parties’ May 7, 2018
joint status report indicates the following schedule:


       • July 17, 2018: The parties will file a joint appendix with the Court of the
       evidence previously secured that relates to the spoliation allegations.

       • August 17, 2018: Plaintiffs produce RCFC 26(a)(2) expert disclosures to
       the United States.

       • October 17, 2018: United States produces RCFC 26(a)(2) expert
       disclosures to include rebuttal reports to Plaintiffs.

       • December 17, 2018: Plaintiffs produce rebuttal reports to the United
       States’ expert disclosures.

       • March 1, 2019: Discovery closes.

       • April 3, 2019: The parties supplement the joint appendix with any
       additional evidence that relates to the spoliation allegations.

       • April 10, 2019: The parties file a joint status report with proposals for
       further proceedings with respect to the spoliation motion.
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        The parties’ proposed schedule is GRANTED. On or before Tuesday, July 17,
2018, the parties shall file the spoliation joint appendix. On or before Friday, August 17,
2018, plaintiffs shall produce the expert disclosures to the defendant. On or before
Wednesday, October 17, 2018, defendant shall produce the expert disclosures and
rebuttal expert reports to the plaintiffs. On or before Monday, December 17, 2018,
plaintiffs shall produce rebuttal expert reports to the defendant. Discovery shall close on
Friday, March 1, 2019. On or before Wednesday, April 3, 2019, the parties shall
supplement the joint appendix with any additional evidence that relates to the spoliation
allegations. On or before Wednesday, April 10, 2019, the parties shall file a joint status
report reflecting the close of discovery and proposing a schedule for future proceedings.
One party may file the joint status report with the consent of the other party reflected in
the joint status report.

       In order to discuss the joint status report, the court SCHEDULES a status
conference for Wednesday, April 17, 2019, at 2:30 p.m., EDT. Both parties may appear
by telephone. Unless otherwise notified, the court will contact plaintiff’s counsel at (303)
673-9600 and defendant’s counsel at (303) 844-1369. The parties shall consult prior to
the conference and be prepared to propose how to proceed in the above-captioned case.



       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge




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